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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Dan McConchie, et al.
                                            Plaintiff,
v.                                                         Case No.: 1:21−cv−03091
                                                           Honorable Robert M. Dow Jr.
Illinois State Board of Elections, et al.
                                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, December 6, 2021:


         MINUTE entry before the Honorable Robert M. Dow, Jr: In regard to the hearing /
oral argument set to begin on 12/7/2021, which may continue on 12/8/2021, there will be
both an overflow courtroom in the Dirksen Building in the event that there are more
members of the public and/or media who wish to attend the proceedings in person than
can be accommodated in Courtroom 2525. Information on the overflow courtroom will be
available outside Courtroom 2525 if it appears that the capacity of Courtroom 2525 is
about to be reached. In addition, members of the public and media will be able to call in to
listen to the proceedings remotely by using the following call−in information: Dial−in
Number: 1−855−244−8681, Access Code: 2321 088 4329, Password: 2103369. Please
note the general prohibition against recording and rebroadcasting of Court proceedings.
Your telephone should be on mute at all times. Violation of these prohibitions may result
in sanctions, including removal of court issued media credentials, restricted entry to future
hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
the Court. Emailed notice(cdh, )




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